                                                                                    Judge Marc L. Barreca
1                                                                                             Chapter 13
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6
                                     UNITED STATES BANKRUPTCY COURT
7                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
8

9    In Re:
                                                        Case No. 22-11270-MLB
10   Derek Allen Watson and Megan Melissa
     Watson,                                            Chapter 13
11
                                                        OBJECTION TO CONFIRMATION OF
                                                        CHAPTER 13 PLAN
12                                 Debtors.
                                                        341(a) MEETING:
13
                                                        DATE: Sept.14, cont’d to Sept. 28, 2022
                                                        TIME: 11:00 a.m.
14
                                                        PLACE: Via teleconference
15
                                                        CONFIRMATION HEARING:
                                                        DATE: Oct. 12, 2022
16
                                                        TIME: 9:00 a.m.
                                                        CTRM: Everett ZoomGov
17

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19            Secured creditor Washington Federal (“Creditor”), secured creditor of the above-
20   entitled debtors, Derek Allen Watson and Megan Melissa Watson (collectively “Debtors”),
21   hereby objects to the Chapter 13 Plan filed by Debtors in the above-referenced matter on
22   September 7, 2022 (Dkt. No. 24). The objection is based on Debtors’ Chapter 13 Plan (Dkt.
23   No. 24), Debtors’ Schedule (Dkt. No. 25), Creditor’s Proof of Claim, the Declaration of Robert
24   A. Bailey (Dkt. No. 31), and on such additional submissions and arguments as may be
25
     {100047/002330/00635455-2 }                                        LAGERLOF LLP
     OBJECTION TO CONFIRMATION                                       701 PIKE STREET, SUITE 1560
     OF CHAPTER 13 PLAN -1
                                                                         SEATTLE, WA 98101
                                                                        PHONE: 206-492-2300
     CASE NO: 22-11270-MLB
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1    presented at or before the confirmation hearing.

2                                            I.        INTRODUCTION

3               There are multiple grounds for the rejection of Debtors’ Chapter 13 Plan. It is infeasible

4    due to Debtors’ lack of disposable income, contains inconsistencies and misrepresentations,

5    and is unspecific as to when the listing and sale of the property secured by Creditor will occur.

6    Based on the foregoing and as further set forth below, Creditor respectfully requests that the

7    Court deny confirmation of Debtors’ Chapter 13 Plan.

8                                      II.        STATEMENT OF FACTS

9               1.       On October 16, 2015, Debtors executed a promissory note (the “Note”) from

10   Creditor wherein Creditor agreed to loan them the principal amount of $670,000. Proof of

11   Claim (“POC”)1, p. 28-30. Debtors additionally granted Creditor a Deed of Trust on the

12   property located at 17520 Marine Drive, Stanwood, Washington (the “Property”) that secured

13   repayment of the Note. Id. at 8-27.

14              2.       The monthly payment owed on the Note is $4,522.23 and it is in arrears of

15   $176,772.91. Id. at 4.

16              3.       Debtors have vacated the Property no later than December 2021. Dkt. No. 31, ¶

17   2. Furthermore, it was found that the Property has deteriorated and is currently uninhabitable.

18   Id.; Ex. 1, p. 82 to Dkt. No. 31.

19              4.       On October 4, 2022, Debtors filed the instant Chapter 13 bankruptcy petition.

20   Dkt. at 1.

21              5.       On September 7, 2022, Debtors filed their Chapter 13 Plan (the “Plan”)

22   providing for monthly payments to the Trustee in the total amount of $5,500 for 36 months.

23   Dkt. No. 24, p. 1 (Item III). Of the sum paid to the Chapter 13 Trustee, Creditor will be paid

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     1
         Proof of Claim filed by Creditor on September 12, 2022.
25   2
         See Lines 16-25.
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1    $4,522 per month. Id. at 3.

2             6.        The Plan states that Debtors shall list the Property for sale in order to pay all

3    claims in full. Id. at 5 (Item X.1). However, the Plan does not state any specific deadlines as for

4    when the Property will be listed and/or sold.

5             7.        On September 7, 2022, Debtors filed Schedules I and J reflecting a monthly net

6    income of $7,920. Dkt. No. 25, p. 29 (Item 23.c).

7             8.        There are material misstatements, inconsistencies, and deficient information in

8    the Schedule including the following:

9
                        8.1        Schedule I states Debtor 1 (Derek Allen Watson) receives $9,000 a
10                                 month from rental property and from operating a business. Id. at 26
                                   (Item 8). However, no statement has been attached for each property and
11
                                   business showing gross receipts, ordinary and necessary business
12                                 expense, and the total monthly net income as required. Additionally, no
                                   other property is listed other than the Property in Debtors’ Schedule. Id.
13                                 at 1 (Item 1). Furthermore, Debtor 1 stated at the Meeting of Creditors
                                   that he does not own a business. No explanation for the income Debtor 1
14                                 receives in Line 8 of Schedule I is provided.

15                      8.2        Schedule J fails to state Debtors’ taxes deducted from pay. Id. at 28
                                   (Item 16).
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                                             III.       ARGUMENT
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              The provisions of 11 U.S.C. § 1325 set forth the requirements for the Court to confirm
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     a Chapter 13 Plan. The burden is on the debtor to demonstrate that the plan meets the
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     conditions essential for confirmation. Warren v. Fidelity & Casualty Co. of N.Y. (In re
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     Warren), 89 B.R. 87, 93 (B.A.P. 9th Cir. 1988). For the reasons detailed herein, Debtors fail to
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     meet this burden.
23
              A.        Debtors’ Plan is Not Filed in Good Faith
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              There are several inconsistencies, misrepresentations, and deficient information to
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1    Debtors’ Plan. For a plan to be confirmed, the bankruptcy code requires that it be proposed in

2    good faith. 11 U.S.C. § 1325(a)(3). The Ninth Circuit has held:

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                        Fundamentally, the good faith inquiry assesses whether the
4                       debtor has misrepresented facts in his plan, unfairly manipulated
                        the Bankruptcy Code, or otherwise proposed his Chapter 13 plan
5
                        in an inequitable manner.
6
     In re Sisk, 962 F.3d 1133, 1150 (9th Cir. 2020)(internal quotations omitted)(citing In re Goeb,
7
     675 F.2d 1386, 1390 (9th Cir. 1982). The Ninth Circuit in Sisk further states:
8
                        Instead, the good faith analysis should be a fact-intensive
9                       examination of the totality of the circumstances.
10   Id.(citing In re Welsh, 711 F.3d 1120, 1131 (9th Cir. 2013).
11
                        Based on the numerous inconsistencies and misrepresentations in Debtors’ Plan
12
     alone, the Court should find it was not proposed in good faith. A threshold discrepancy
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     involves the simple question of where the Debtors’ live. In their Petition they swore they lived
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     at 17520 Marine Drive, Stanwood, Washington. Dkt. No. 1, item 5. As shown in WaFd’s
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     motion for relief from stay, they do not reside in that property because that property is
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     uninhabitable. See Dkt. No. 31. That the Debtors do not reside in that property is confirmed by
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     the plan itself when it lists payments on the WaFd loan secured by that property under
18
     “Payments on Claims . . . Secured by Real Property Other than the Debtor’s Principal
19
     Residence.” Dkt. No. 31, IV.C.2. Then in Part 2 of Schedule J, Debtors list what is apparently
20
     a residential rental expense of $2,500. Dkt. No. 25. Even Debtors’ scheduling of the loan
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     secured by this property is inaccurate and misleading. In Schedule D, Part 1, item 2.2, Debtors
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     list the value of the property secured by the WaFd loan as “$0.00” and assert that the entire
23
     balance of the loan is unsecured. Dkt. No. 25. Yet, according to the Plan, Debtors plan to use
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     the proceeds from the sale of that valueless property to pay all claims in full.
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1             As another example, Debtors’ statement of income lists income of $5,000 per month for

2    Debtor 2 and $197 for Debtor 1 from other sources. Yet, their income on Schedule I includes

3    $9,000 per month in income for Debtor 1 (Mr. Watson) who the schedule indicates is not

4    employed and who advised the trustee he does not own a business. There is no explanation for

5    this discrepancy.

6             Debtors also fail to list any expenses for taxes on their income. Dkt. No. 25, p. 28 (Item

7    16). Additionally, Debtor 1, marked as Derek Allen Watson, states he is receiving $9000 for

8    rental property and from operating a business, or farm. Id. at 26 (Item 8). Yet Debtors provide

9    no statements “for each property and business showing gross receipts, ordinary and necessary

10   business expenses, and the total monthly net income” as required by the Schedule.

11   Furthermore, if Debtors are deriving money from rental income in Item 8 of the Schedule, no

12   property is listed except for the property secured by Creditor. See Id. at 1 (Item 1). Debtor 1

13   also stated in the Meeting of Creditors that he does not own a business. Due to the lack of

14   information, inconsistencies, and misrepresentations in Debtors’ plan, the Court should find it

15   was not proposed in good faith.

16            Additionally, the Plan states that the Property will be sold to pay all claims. Dkt. No.

17   24, p. 5 (Item X.1). However, the Plan does not state any specific deadlines as for when the

18   Property will be listed and/or sold. The centerpiece of Debtors’ Plan is chronologically vague

19   further substantiating the lack of good faith. Any plan proposed by Debtors should set a

20   deadline as to when the Property will be listed and sold because Debtors’ Plan relies on the sale

21   of the Property to pay all claims. This is especially important when, as here, the Property is

22   currently deteriorating and losing value. Alternatively, the Plan should provide a surrender of

23   the Property to Creditor pursuant to 11 U.S.C. 1325(a)(5)(C).

24            B.        Debtors’ Plan Not Feasible and Not in the Best Interest of Creditors

25            Pursuant to the bankruptcy code, the Court may only confirm a plan if Debtors are able
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1    to make all payments under the plan and to comply with the plan. 11 U.S.C. § 1325(a)(6).

2    Debtors Plan provides for monthly payments to the Trustee in the total amount of $5,500 for 36

3    months. Dkt. No. 24, p. 1. Of the sum paid to the Chapter 13 Trustee, Creditor will be paid

4    $4,522 per month. Id. at 3. As a threshold matter, this proposal is simply not possible if

5    Debtors’ statement of income is to be believed. That document says they only make $5,197

6    per month, gross. This is not enough to cover the $5,500 per months payments called for by

7    the plan.

8               Debtors filed Schedules I and J reflecting a monthly net income, after expenses, of

9    $7,920. Dkt. No. 25, p. 29 (Item 23c). However, Debtors fail to provide any expense for taxes.

10   Id. at 28 (Item 16). Debtors’ monthly income is listed as $14,497. Id. at 26 (Item 12). This is

11   assuming the income of $9,000 per month listed by Debtor 1 (Derek Allen Watson) is even

12   credible since Debtors failed to provide any supporting documentation, did not list any rental

13   properties other than the Property, and Debtor 1 stating at the Meeting of Creditors that he did

14   not own a business. Id. at 26 (Item 8a). A plan is not feasible if the debtor is unemployed or

15   the debtors’ future earnings are uncertain. See In re Manes, 67 BR 16 (E.D.Ar.Bk. 1986).

16              Debtors here list their total monthly expenses to be $6,577. Id. at 29 (Item 22c).

17   Assuming Debtors are married and filing jointly, this would provide them with a tax rate of

18   24%3 and a monthly tax expense of approximately $3,479.28 that should be added to their

19   expenses. Debtors failed to schedule any tax liability or any other deductions from payroll.

20   Debtors’ total monthly expenses should approximately be $10,056.28 providing them with a

21   net income of $4,422.72. This amount is deficient as to what they intend to pay to pay the

22   Trustee and the payments to be made to Creditor. Accordingly, the Court should find Debtors’

23   Plan is infeasible.

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25   3
         See married filing jointly tax bracket.
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1             C.        The Plan Fails to Adequately Address WaFd’s Secured Debt

2             To be confirmable, a plan must adequately address the amounts owed to secured

3    creditors. 11 U.S.C. §§ 1322(b)(3),(5) and 1325(a)(5)(A-C). The Plan here appears to be

4    proposing that WaFd retain its lien and is paid under the plan pursuant to 11 U.S.C. §

5    1325(a)(5)(B). However, Debtors Schedules do not adequately reflect the amount of the debt

6    and the valuation of the property at $0.00 indicates that selling the property will not generate

7    adequate funds to pay WaFd’s secured loan as required by Section 1325(a)(5)(B).

8             Additionally, Debtors have not made any pre-confirmation plan payments despite

9    having obtained the order for relief more than almost 60 days ago and 23 days having passed

10   from the filing of the Plan. The plan also allocates $4,000 of the first $5,500 plan payment not

11   to WaFd but to their counsel. As such, Debtors cannot comply with the equal monthly

12   payment requirement of 11 U.S.C. § 1325(a)(5)(B)(iii)(I). This provision has the effect of

13   impermissibly modifying WaFd’s right to equal payments on its secured loan. See In re

14   Maike, 179 F.Supp.3d 750, 759 (ED MI 2016; see also In re Romero, 539 BR 557, 560

15   (ED.WI.Bk. 2015).

16                                           IV. CONCLUSION

17            Based on the foregoing, Debtors’ Plan was not proposed in good faith and is infeasible.

18   Accordingly, it should be rejected.

19
     Dated: September 28, 2022              LAGERLOF LLP
20

21                                          s/ Robert A. Bailey              _
                                            Robert A. Bailey, WSBA No. 28472
22                                          701 Pike Street, Suite 1560
                                            Seattle, WA 98101
23                                          Email: rbailey@lagerlof.com
                                            Counsel for Washington Federal
24

25
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1                                     DECLARATION OF SERVICE

2             I hereby declare under penalty of perjury of the laws of the State of Washington and the

3    United States of America that on this 28th day of September 2022, I caused to be delivered a copy

4    of the Objection to Confirmation of Chapter 13 Plan to be served to all parties registered on ECF

5    at their respective ECF registered e-mail addresses, including:

6
                Jacob DeGraaff, WSBA No. 36713
7
                Attorney for Derek and Megan Watson
8
                Jason Wilson-Aguilar, WSBA No. 33582
9               Attorney for Chapter 13 Trustee

10

11            Signed this 28th day of September 2022 at Seattle, Washington.
12
                                            s/ Karrie Blevins
13
                                            Karrie Blevins, Paralegal
14                                          Lagerlof LLP

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